                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 CLIFFORD TUTTLE, et. al.
                                                   Case No. 4:21-cv-00270
 Consolidated with

 JOHN NICHOLAS, et.al.

 Plaintiffs,

 v.

 CITY OF HOUSTON; ART ACEVEDO, et.
 al.

 Defendants.                                       (JURY DEMANDED)



           PLAINTIFFS’ MOTION TO SEAL THE JOINT PRE-TRIAL ORDER

        Under the Court’s Order, Plaintiffs have been assigned the obligation to file the Joint Pre-

Trial Order. As part of the conferral process, Counsel for Medina and Gonzales requested that

Plaintiffs file the Joint Pre-Trial Order under seal because the document cites to and quotes

material that is designated as confidential under the protective order and may contain confidential

information. See ECF No. 106. Plaintiffs, therefore, file this motion to seal. However, Plaintiffs

have already filed a motion to unseal this same material at Doc. 361.



          /s/ Michael Doyle                               /s/ Boyd Smith

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                                CERTIFICATE OF SERVICE

        I, the undersigned attorney, do hereby certify that a true and correct copy of the foregoing
document was forwarded to the following counsel of record on this the 21st day of October, 2024
via CM/ECF, hand delivery, electronic mail, overnight courier, U.S. Mail, certified mail, return
receipt request, or facsimile, pursuant to the Federal Rules of Civil Procedure.

/s/ Jeffrey I. Avery
Jeffrey Avery
